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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF DELAWARE

    n re:                                            )
                                                     )   Chapter 11
                                        1
    APEX LINEN SERVICE LLC, et al.,                  )
                                                     )   Case No. 20-11774 (LSS)
                   Debtors.                          )
                                                     )   Jointly Administered
                                                     )
                                                     )   Hearing Date: August 7, 2020 at 2:00p.m. (EDT)
                                                     )   Obj. Deadline: July 31, 2020 at 4:00 p.m. (EDT)

                                    NOTICE OF HEARING

            PLEASE TAKE NOTICE that on July 8, 2020, Apex Linen Service LLC (the “Debtors”)

filed the attached Debtor’s Application for Entry of An Order Authorizing the Debtors to (I)

Employ and Retain Glassratner Advisory & Capital Group LLC to Provide the Debtors a Chief

Restructuring Officer and Certain Additional Personnel, and (II) Designate Jeff Nerland As Chief

Restructuring Officer for the Debtors Nunc Pro Tunc to the Petition Date (the “Motion”) with the

United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”).

            PLEASE TAKE FURTHER NOTICE that the Motion shall be considered at the hearing

scheduled in the above-captioned case for August 7, 2020 at 2:00 p.m. (Eastern Time) at the

United States Bankruptcy Court for the District of Delaware, 824 Market Street, 6th Floor,

Courtroom 2, Wilmington, Delaware 19801 before the Honorable Laurie Selber Silverstein.

            PLEASE TAKE FURTHER NOTICE that any responses or objections to the Motion must

be filed in writing with the Bankruptcy Court, 824 Market Street, 3rd Floor, Wilmington, Delaware


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 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, as applicable are: Apex Linen Service LLC (9075), Highland Apex
Holdings LLC (0537), Highland Avenue Capital Partners LLC (2825), Highland Apex GP LLC
(9246), and Highland Apex Management LLC (5476). The location of the Debtors’ corporate
headquarters, and the business address for Apex Linen Service LLC is 6375 S. Arville Street, Las
Vegas, NV 89118. The business address for all other Debtors is 205 Pier Avenue, Suite 102,
Hermosa Beach, CA 90254.
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19801, and served upon and received by counsel for the Debtors on or before July 31, 2020 at

4:00 p.m. (Eastern Time).

       PLEASE TAKE FURTHER NOTICE THAT IF NO OBJECTIONS TO THE MOTION

ARE TIMELY FILED, SERVED, AND RECEIVED IN ACCORDANCE WITH THIS NOTICE,

THE COURT MAY GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT

FURTHER NOTICE OR HEARING.


Dated: July 10, 2020                      Respectfully submitted,
                                          GOLDSTEIN & MCCLINTOCK, LLLP

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                                          Debtors-in-Possession
